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                EXHIBIT C
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                    TAKE-TWO’S PROPOSED JURY INSTRUCTIONS

      Where Plaintiff and Take-Two have disputed instructions, those are labeled as “Take-
Two’s Proposed.”

                   [AGREED] Jury Instruction No. 1: General Instructions

       MEMBERS OF THE JURY:

        It is my duty and responsibility to instruct you on the law you are to apply in this case.
The law contained in these instructions is the only law you may follow. It is your duty to follow
what I instruct you the law is, regardless of any opinion that you might have as to what the law
ought to be.

       If I have given you the impression during the trial that I favor either party, then you must
disregard that impression. If I have given you the impression during the trial that I have an
opinion about the facts of this case, then you must disregard that impression. You are the sole
judges of the facts of this case.

        You should consider all of the instructions about the law as a whole and regard each
instruction in light of the others, without isolating a particular statement or paragraph.

       The testimony of the witnesses and exhibits introduced by the parties constitute the
evidence. The statements of counsel are not evidence; they are only arguments. It is important
for you to distinguish between the arguments of counsel and the evidence on which those
arguments rest. What the lawyers say or do is not evidence. You may, however, consider their
arguments in light of the evidence that has been admitted and determine whether the evidence
admitted in this trial supports the arguments. You must determine the facts from all the testimony
that you have heard and the other evidence submitted. You are the judges of the facts, but in
finding those facts, you must apply the law as I instruct you.

        You are required by law to decide the case in a fair, impartial, and unbiased manner,
based entirely on the law and on the evidence presented to you in the courtroom. You may not be
influenced by passion, prejudice, or sympathy you might have for the plaintiff or the defendants
in arriving at your verdict.



Authority: Kevin F. O’Malley et al., Fed. Jury Prac. & Instructions Civil Companion Handbook
§ 6:1 (2023–2024 ed.) (modified).
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           [TAKE-TWO’S PROPOSED] Jury Instruction No. 2: Burden of Proof

      Plaintiff James Hayden has the burden to prove every essential element of his claim by a
preponderance of the evidence. If plaintiff James Hayden should fail to establish any essential
element of his claim by a preponderance of the evidence, you should find for defendants 2K
Games, Inc. and Take-Two Interactive Software, Inc. as to that claim. I will explain the
elements of Plaintiff’s claims later.

        In turn, the defendants, 2K Games, Inc. and Take-Two Interactive Software, Inc., have
the burden of establishing every essential element of their affirmative defenses by a
preponderance of the evidence. I will explain the elements of 2K Games, Inc.’s and Take-Two
Interactive Software, Inc.’s affirmative defenses later.

       “Establish by a preponderance of the evidence” means evidence, which as a whole,
shows that the fact sought to be proved is more probable than not. In other words, a
preponderance of the evidence means such evidence as, when considered and compared with the
evidence opposed to it, has more convincing force, and produces in your minds belief that what
is sought to be proved is more likely true than not true. This standard does not require proof to
an absolute certainty, since proof to an absolute certainty is seldom possible in any case.

       In determining whether any fact in issue has been proved by a preponderance of the
evidence, unless otherwise instructed, you may consider the testimony of all witnesses,
regardless of who may have called them, and all exhibits received in evidence, regardless of who
may have produced them.

       You may have heard of the term “proof beyond a reasonable doubt.” That is a stricter
standard applicable in criminal cases. It does not apply in civil cases such as this. You should,
therefore, put it out of your minds. Preponderance simply means more likely true than not true.



Authority: Kevin F. O’Malley et al., 3 Fed. Jury Prac. & Instr. § 104.01 (6th Ed.) (modified).




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                        [AGREED] Jury Instruction No. 3: Evidence

        The evidence you are to consider consists of the testimony of the witnesses, the
documents and other exhibits admitted into evidence, and any fair inferences and reasonable
conclusions you can draw from the facts and circumstances that have been proven. Generally
speaking, there are two types of evidence. One is direct evidence, such as testimony of an
eyewitness. The other is indirect or circumstantial evidence. Circumstantial evidence is evidence
that proves a fact from which you can logically conclude another fact exists. As a general rule,
the law makes no distinction between direct and circumstantial evidence, but simply requires that
you find the facts from a preponderance of all the evidence, both direct and circumstantial.

       Certain things are not to be considered as evidence. These are:

           •   Any testimony or exhibits I may have stricken from the record and told you to
               disregard. Such testimony or exhibits are not evidence and may not be considered.
           •   Anything you may have seen or heard outside the courtroom is not evidence and
               must be disregarded.
           •   Questions and objections or comments by lawyers. Attorneys have a duty to
               object when they believe a question is improper under the rules of evidence. You
               should not be influenced by the objection or my ruling on it except, as explained
               just now, you may not consider evidence I strike.
           •   The lawyers’ opening statements and closing arguments are not evidence. Their
               purpose is to discuss the issues and the evidence and assist you in interpreting
               them.



Authority: Kevin F. O’Malley et al., Fed. Jury Prac. & Instructions Civil Companion Handbook
§ 6:1 (2023–2024 ed.).




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                         [AGREED] Jury Instruction No. 4: Witnesses

         You alone are to determine the questions of credibility or truthfulness of the witnesses. In
weighing the testimony of the witnesses, you may consider the witness’s manner and demeanor
on the witness stand, any feelings or interest in the case, or any prejudice or bias about the case,
that he or she may have, and the consistency or inconsistency of his or her testimony considered
in the light of the circumstances. Has the witness been contradicted by other credible evidence?
Has he or she made statements at other times and places contrary to those made here on the
witness stand? You must give the testimony of each witness the credibility that you think it
deserves.

       Even though a witness may be a party to the action and therefore interested in its
outcome, the testimony may be accepted if it is not contradicted by direct evidence or by any
inference that may be drawn from the evidence, if you believe the testimony.

         You are not to decide this case by counting the number of witnesses who have testified
on the opposing sides. Witness testimony is weighed; witnesses are not counted. The test is not
the relative number of witnesses, but the relative convincing force of the evidence. The
testimony of a single witness is sufficient to prove any fact, even if a greater number of witnesses
testified to the contrary, if after considering all of the other evidence, you believe that single
witness.



Authority: Kevin F. O’Malley et al., Fed. Jury Prac. & Instructions Civil Companion Handbook
§ 6:1 (2023–2024 ed.).




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                     [AGREED] Jury Instruction No. 5: Expert Witnesses

        When knowledge of a technical subject matter may be helpful to the jury, a person who
has special training or experience in that technical field is permitted to state his or her opinion on
those technical matters. However, you are not required to accept that opinion. As with any other
witness, it is up to you to decide whether to rely on it.



Authority: Kevin F. O’Malley et al., Fed. Jury Prac. & Instructions Civil Companion Handbook
§ 6:1 (2023–2024 ed.).




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                  [AGREED] Jury Instruction No. 6: Deposition Testimony

       Certain testimony has been presented to you through a deposition. A deposition is the
sworn, recorded answers to questions a witness was asked in advance of the trial. Under some
circumstances, if a witness cannot be present to testify from the witness stand, then that witness’s
testimony may be presented, under oath, in the form of a deposition. Sometime before this trial,
attorneys representing the parties in this case questioned this witness under oath. A court reporter
was present and recorded the testimony. The questions and answers were shown to you by video.

       This deposition testimony is entitled to the same consideration and weighed and
otherwise considered by you in the same way as if the witness had been present and had testified
from the witness stand in court.



Authority: Kevin F. O’Malley et al., Fed. Jury Prac. & Instructions Civil Companion Handbook
§ 6:1 (2023–2024 ed.).




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                 [AGREED] Jury Instruction No. 7: Demonstrative Evidence

        Certain exhibits shown to you during the trial were illustrations. We call these types of
exhibits “demonstrative exhibits” or “demonstratives.” Demonstrative exhibits are a party’s
description, picture, or model to describe something involved in this trial. If your recollection of
the evidence differs from the demonstratives, you should rely on your recollection.
Demonstrative exhibits themselves are not evidence, but a witness’s testimony concerning a
demonstrative exhibit is evidence.



Authority: Kevin F. O’Malley et al., Fed. Jury Prac. & Instructions Civil Companion Handbook
§ 6:1 (2023–2024 ed.).




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       [TAKE-TWO’S PROPOSED] Jury Instruction No. 8: Copyright Introduction

       To help you understand the evidence in this case, I will explain some of the legal terms
you have heard during the trial.

       Copyright law defines when unauthorized copying of original works is permitted and not
permitted. When copying is not permitted, it is called infringement. I will explain to you what it
means for a work to be protected or not protected by copyright, and what kinds of copying are
permitted and not permitted under the law.

        In this case, Plaintiff James Hayden claims to own copyrights to two tattoos that he inked
on LeBron James, an NBA basketball player. The tattoos are entitled “Gloria” and “Shoulder
Stars.” I may refer to these two tattoos as the “Asserted Tattoos.” Plaintiff claims that
defendants 2K Games, Inc. and Take-Two Interactive Software, Inc., who I will refer to
collectively as “Take-Two,” copied the Asserted Tattoos when they created their NBA 2K
basketball video games and that such copying was an infringement of his copyrights. The video
games at issue are NBA 2K16, NBA 2K17, NBA 2K18, NBA 2K19, NBA 2K20, and NBA 2K
Mobile. Sometimes I will refer to these six basketball video games as “NBA 2K.” Plaintiff is
seeking damages from Take-Two.

        Take-Two denies infringing the Asserted Tattoos. Take-Two specifically claims that the
copyrights in the Asserted Tattoos are invalid because they were authored by Mr. James, not
Plaintiff, because they were not independently created by Plaintiff, and because they consist of
unprotectable elements. Take-Two also asserts four affirmative defenses that would mean that
Take-Two’s conduct is permitted. Take-Two’s affirmative defenses are license, waiver, de
minimis use, and fair use. I will describe copyright infringement and each of these affirmative
defenses in more detail later on.



Authority: Ninth Cir. Model Jury Instruction Nos. 17.5–17.15 (modified), available at
https://www.ce9.uscourts.gov/jury-instructions/node/326; Feist Publ’ns, Inc. v. Rural Tel. Serv.
Co., 499 U.S. 340, 345 (1991).




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   [TAKE-TWO’S PROPOSED] Jury Instruction No. 9: Direct Copyright Infringement

        To prove direct infringement, Plaintiff has the burden of proving by a preponderance of
the evidence that, for each Asserted Tattoo:

   1. Plaintiff owns a valid copyright in the tattoo; and

   2. Take-Two copied elements of the tattoo that are protectable.




Authority: 17 U.S.C. § 106; Ninth Cir. Model Jury Instruction No. 17.5 (modified), available at
https://www.ce9.uscourts.gov/jury-instructions/node/326; Feist Publ’ns, Inc. v. Rural Tel. Serv.
Co., 499 U.S. 340, 361 (1991); Stromback v. New Line Cinema, 384 F.3d 283, 293 (6th Cir.
2004); Kevin F. O’Malley et al., Fed. Jury Prac. & Instructions Civil Companion Handbook
§ 6:1 (2023–2024 ed.) (modified).




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             [TAKE-TWO’S PROPOSED] Jury Instruction No. 10: Ownership

       Plaintiff has the burden to prove by a preponderance of the evidence that he owns valid
copyrights in the Asserted Tattoos. To prove ownership of a valid copyright, Plaintiff must show
by a preponderance of the evidence that, for each tattoo:

           1. The tattoo is original; and
           2. Plaintiff is the author of the tattoo.

        I have found that Plaintiff owns copyright registrations for the Asserted Tattoos, which
Plaintiff registered in 2016 and 2017, and that those registrations create a presumption of
validity. The presumption of validity is rebuttable. Evidence that a work was not original,
including evidence that it was not independently created or that it is not creative, is sufficient to
rebut the presumption of validity. Evidence that Plaintiff did not author the work also is
sufficient to rebut the presumption of validity.

        If you find that Take-Two has rebutted the presumption of validity, the burden shifts back
to Plaintiff to prove ownership of a valid copyright. If you find that Plaintiff has failed to prove
either of the two elements required to show ownership of a valid copyright, your verdict should
be for Take-Two.



Authority: 17 U.S.C. § 410(c); Ninth Cir. Model Jury Instruction No. 17.6 (modified), available
at https://www.ce9.uscourts.gov/jury-instructions/node/326; Dkt. 193 (1st Summ. J. Op.) at 5;
BancTraining Video Sys. v. First Am. Corp., 956 F.2d 268, at *3 (6th Cir. 1992); Ent. Rsch. Grp.,
Inc. v. Genesis Creative Grp., Inc., 122 F.3d 1211, 1217 (9th Cir. 1997) (“To rebut the
presumption, an infringement defendant must simply offer some evidence or proof to dispute or
deny the plaintiff’s prima facie case”); Folio Impressions, Inc. v. Byer Cal., 937 F.2d 759, 763–
64 (2d Cir. 1991) (upholding district court’s finding that presumption of validity was rebutted
where defendant showed works were copied from pre-existing works); Pan v. Kohl’s Dep’t
Stores, Inc., No. 2:12 Civ. 1063, 2016 WL 1270665, at *5 (S.D. Ohio Mar. 31, 2016) (finding
the defendants “successfully rebutted the presumption of the validity of Plaintiff’s copyright by
proving that Plaintiff is not the author of the work”).




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             [TAKE-TWO’S PROPOSED] Jury Instruction No. 11: Originality

       Plaintiff has the burden to prove by a preponderance of the evidence that each of the
Asserted Tattoos is original.

       A work is original if it (1) was created independently, as opposed to being copied from
another work; and (2) contains at least some minimal creativity.

       For a work to be independently created, it must be created by its author and not copied
from someone else’s work.

       External factors that constrain the choice of the author’s expression can also preclude
copyright protection. For example, words and short phrases such as names and titles are not
copyrightable. Similarly, standard or stock elements that necessarily follow from a common
theme or setting may not obtain copyright protection.



Authority: Ninth Cir. Model Jury Instruction No. 17.14 (modified), available at
https://www.ce9.uscourts.gov/jury-instructions/node/270; 17 U.S.C. § 102; Feist Pubs., Inc. v.
Rural Tel. Serv. Co., 499 U.S. 340, 345 (1991); Halper v. Sony/ATV Music Pub., LLC, No. 18-
5915, 2019 WL 994524, at *3 (6th Cir. Feb. 15, 2019) (citing 37 C.F.R. § 202.1); Lexmark Int’l,
Inc. v. Static Control Components, Inc.; Southco, Inc. v. Kanebridge Corp., 390 F.3d 276, 285
(3d Cir. 2004) (quoting 37 C.F.R. § 202.1 (2004)); Folio Impressions, Inc. v. Byer Cal., 937 F.2d
759, 764 (2d Cir. 1991) (“In the copyright context, originality means the work was
independently created by its author, and not copied from someone else’s work.”); SnagPod, LLC
v. Precision Kiosk Tech., Inc., No. 23 Civ. 10401, 2023 WL 6644133 (E.D. Mich. Oct. 12,
2023); see 17 U.S.C. § 103(a) (“[P]rotection for a work employing preexisting material in which
copyright subsists does not extend to any part of the work in which such material has been used
unlawfully.”).




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             [TAKE-TWO’S PROPOSED] Jury Instruction No. 12: Authorship

       Plaintiff has the burden to prove by a preponderance of the evidence that he is the author
of each of the Asserted Tattoos.

        An author is the person to whom the work owes its origin and who superintended or
“masterminded” the whole work. If another person exercised decision-making authority over the
work, including over what changes were made to the work and what was included, that person is
the author, not the person who implemented those decisions.



Authority: Ninth Cir. Model Jury Instruction No. 17.8 (modified), available at
https://www.ce9.uscourts.gov/jury-instructions/node/264; 17 U.S.C. § 201(a); Burrow-Giles
Lithographic Co. v. Sarony, 111 U.S. 53, 61 (1884) (“In my opinion, ‘author’ involves
originating, making, producing, as the inventive or master mind, the thing which is to be
protected”); 16 Casa Duse, LLC v. Merkin, 791 F.3d 247, 260 (2d Cir. 2015) (identifying
“factual indicia of [] authorship” as including “decisionmaking authority,” which means “relative
control over what changes are made and what is included in a work” (internal citations and
quotation marks omitted)); Aalmuhammed v. Lee, 202 F.3d 1227, 1233 (9th Cir. 2000)
(following Burrow-Giles’s definition of author “as the person whom the work owes its origin and
who superintended the whole work”); Andrien v. S. Ocean Cnty. Chamber of Com., 927 F.2d
132, 135 (3d Cir. 1991) (authors may not be the people who “perform with their own hands the
mechanical tasks of putting the material in the form distributed to the public”).




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       [TAKE-TWO’S PROPOSED] Jury Instruction No. 13: Substantial Similarity

        Plaintiff must prove by preponderance of the evidence that any copying by Take-Two
constituted legally actionable copying to prevail on his copyright claim. To prove legally
actionable copying, Plaintiff must show that NBA 2K and the Asserted Tattoos are substantially
similar.

        To determine substantial similarity, you must (a) consider only the protectable elements
of the Asserted Tattoos; and (b) ask yourself whether NBA 2K is substantially similar to these
protectable elements. In determining whether NBA 2K and the Asserted Works are substantially
similar to each other, you should consider the relative importance of any protectable elements of
the copyrighted work that you find similar to NBA 2K as compared to the importance of elements
in the copyrighted work that you do not find to be protectable or similar to NBA 2K.

       Only original elements of the Asserted Tattoos are protectable. This category does not
include mere ideas, common or standard elements and themes, words or names, or elements
copied from preexisting sources or the public domain.



Authority: Kevin F. O’Malley et al., Fed. Jury Prac. & Instructions Civil Companion Handbook
§ 6:1 (2023–2024 ed.) (modified); 17 U.S.C. § 103(a); Enchant Christmas Light Maze & Market
Ltd. v. Glowco, LLC, 958 F.3d 532, 536–39 (6th Cir. 2020) (“We must first identify which
aspects of [plaintiff’s] works, if any, are protectible by copyright. Then, we must determine
whether the allegedly infringing works, or elements of those works, are substantially similar to
[plaintiff’s] protected works, or protected elements of [plaintiff’s] work.” (internal citation
omitted)); Halper v. Sony/ATV Music Pub., LLC, No. 18-5915, 2019 WL 994524, at *3 (6th Cir.
Feb. 15, 2019) (citing 37 C.F.R. § 202.1); R.C. Olmstead, Inc. v. CU Interface, LLC, 606 F.3d
262, 274–75 (6th Cir. 2010) (applying the Sixth Circuit’s “two-step approach for determining
whether substantial similarity exists, where the factfinder first asks what aspects of the
copyrighted work, if any, are protected, and then asks whether the second work involves
elements that are substantially similar to the protected elements of the original work.”); Lexmark
Int’l., Inc. v. Static Control Components, Inc., 387 F.3d 522, 534–35 (6th Cir. 2004)
(distinguishing factual and legally actionable copying and holding that “standard, stock
[elements], … or [elements] that necessarily follow from a common theme or setting” are not
protectable and must be filtered out of substantial similarity analysis); Southco, Inc. v.
Kanebridge Corp., 390 F.3d 276, 285 (3d Cir. 2004) (quoting 37 C.F.R. § 202.1 (2004)); Kohus
v. Mariol, 328 F.3d 848, 855 (6th Cir. 2003) (“The essence of the first step is to filter out the
unoriginal, unprotectible elements—elements that were not independently created by the
inventor, and that possess no minimal degree of creativity.”); see also Dkt. 193 (1st Summ. J.
Op.) at 9 (distinguishing factual copying from actionable copying, and noting that “Defendants
argue that Plaintiff cannot establish actionable copying.”).




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       [TAKE-TWO’S PROPOSED] Jury Instruction No. 14: Indirect Infringement

        On Plaintiff’s vicarious copyright infringement claim, Plaintiff has the burden of proving
by a preponderance of the evidence:

       1. Take-Two’s customers directly infringed Plaintiff’s copyrights;
       2. Take-Two has a direct financial interest in the infringing activity; and
       3. Take-Two had the right and ability to supervise or control the infringing activity but
          failed to do so.

       On Plaintiff’s contributory copyright infringement claim, Plaintiff has the burden of
proving by a preponderance of the evidence:

       1. Take-Two’s customers directly infringed Plaintiff’s copyrights;
       2. Take-Two knew, was willfully blind, or should have known that its customers were
          directly infringing; and
       3. Take-Two intentionally or materially contributed to the infringing activity.



Authority: MGM Studios, Inc. v. Grokster, Ltd., 545 U.S. 913, 930–31 (2005) (“One infringes
contributorily by intentionally inducing or encouraging direct infringement, and infringes
vicariously by profiting from direct infringement while declining to exercise the right to stop or
limit it.”); Bridgeport Music, Inc. v. Rhyme Syndicate Music, 376 F.3d 615, 621 (6th Cir. 2004)
(“A defendant can be held vicariously liable if he enjoys a direct financial benefit from the
infringing activity and ‘has the right and ability to supervise’ the infringing activity.”); Gershwin
Publ'g Corp. v. Columbia Artists Mgmt., Inc., 443 F.2d 1159, 1162 (2d Cir. 1971) (“Similarly,
one who, with knowledge of the infringing activity, induces, causes or materially contributes to
the infringing conduct of another, may be held liable as a ‘contributory’ infringer.”); Ellison v.
Robertson, 357 F.3d 1072, 1076 (9th Cir. 2004) (“We have interpreted the knowledge
requirement for contributory copyright infringement to include both those with actual knowledge
and those who have reason to know of direct infringement.”); Matthew Bender & Co., Inc. v.
West Publ’g Co., 158 F.3d 693, 706 (2d Cir. 1998); Subafilms, Ltd. v. MGM–Pathe Commc’ns
Co., 24 F.3d 1088, 1092 (9th Cir. 1994).




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       [TAKE-TWO’S PROPOSED] Jury Instruction No. 15: Affirmative Defenses

       Take-Two’s affirmative defenses are:

       1. License;

       2. Waiver;

       3. De Minimis Use; and

       4. Fair Use

        I will explain what each of these affirmative defenses mean. With regard to the license,
de minimis use, and waiver defenses, if you find that Take-Two has proved any of them, your
verdict should be for Take-Two. With regard to the fair use defense, I will be deciding the
ultimate question of whether Take-Two’s fair use defense applies in this case, but as I will
explain, you will be deciding certain factual questions related to that defense.



Authority: Google LLC v. Oracle Am., Inc., 141 S. Ct. 1183, 1199–1200 (2021) (“Applying a
legal ‘fair use’ conclusion may, of course, involve determination of subsidiary factual
questions.”); Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569, 583–84 (1994) (fair use applied
even where copying would otherwise “be an infringement” of the plaintiff’s copyrights).




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               [TAKE-TWO’S PROPOSED] Jury Instruction No. 16: License

        If Take-Two’s use of the Asserted Tattoos was authorized, it is not copyright
infringement. Such authorization is called a license, and it is Take-Two’s burden to prove the
existence of a license by a preponderance of the evidence.

        A license may be granted in a contract or through an oral agreement, which is called an
explicit license. A license also may be granted by conduct, which is called an implied license.
Where the objective evidence leads to the conclusion that the copyright owner intended the
defendant to use the copyrighted work, the copyright owner should not later be able to sue for
copyright infringement. A license may authorize the licensed person or entity to license
additional persons or entities. This is referred to as a “sub-license.”

       I already have found that Mr. James granted to Take-Two (through the NBA and NBPA)
an explicit license to his likeness (including the Asserted Tattoos). The only things for you to
decide is whether Mr. James is the author of the Asserted Tattoos or, if Plaintiff is the author,
whether an implied license between Plaintiff and Mr. James exists.

        With regard to whether an implied license between Plaintiff and Mr. James exists, I
already have found that Mr. James requested that Plaintiff create the Asserted Tattoos and that
Plaintiff made the Asserted Tattoos and delivered them to Mr. James by inking them on his body.
Given those findings, the only thing for you to decide is whether Plaintiff intended that Mr.
James be able to copy and distribute, and allow others to copy and distribute, these delivered
versions of the Asserted Tattoos. In reaching your decision, you may consider:

   •   Whether the parties were engaged in a short term, discrete transaction, which supports a
       finding of an implied license;

   •   Whether Plaintiff used written contracts providing that the Asserted Tattoos can be used
       only with Plaintiff’s express permission, because the lack of such contracts supports a
       finding of an implied license;

   •   Whether Plaintiff’s conduct at the time the Asserted Tattoos were created supports a
       finding of an implied license; and

   •   Whether common industry practice supports a finding of an implied license.

Silence or lack of objection may be equivalent to a license.

        If Take-Two proves the existence of a license, the burden shifts to Plaintiff to show by a
preponderance of the evidence that Mr. James acted outside the scope of the license. Absent a
limitation imposed on the implied license at the time the Asserted Tattoos were inked on Mr.
James, the license would permit all uses of the Asserted Tattoos by Take-Two that are at issue in
this case.




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Authority: 17 U.S.C. §§ 101, 106, 204(a); Murphy v. Lazarev, 589 F. App’x 757, 765 (6th Cir.
2014) (finding “[a] non-exclusive license may be granted orally, or may be implied from
conduct”); Great Minds v. FedEx Office & Print Servs., Inc., 886 F.3d 91, 94 (2d Cir. 2018);
Mahavisno v. Compendia Biosci., Inc., 164 F. Supp. 3d 964, 968–69 (E.D. Mich. 2016)
(“[W]here the objective evidence leads to the conclusion that the copyright owner intended the
defendant to use the copyrighted work, the copyright owner should not later be able to sue for
copyright infringement for that use.”); I.A.E., Inc. v. Shaver, 74 F.3d 768, 775–76 (7th Cir. 1996)
(finding “an implied nonexclusive license has been granted when (1) a person (the licensee)
requests the creation of a work, (2) the creator (the licensor) makes that particular work and
delivers it to the licensee who requested it, and (3) the licensor intends that the licensee-requestor
copy and distribute his work”); Asset Mktg. Sys., Inc. v. Gagnon, 542 F.3d 748, 756 (9th Cir.
2008) (evidence of intent includes: “(1) whether the parties were engaged in a short-term discrete
transaction as opposed to an ongoing relationship; (2) whether the creator utilized written
contracts ... providing that copyrighted materials could only be used with the creator's future
involvement or express permission; and (3) whether the creator’s conduct during the creation or
delivery of the copyrighted material indicated that use of the material without the creator’s
involvement or consent was permissible” and finding implied license where work was delivered
“without any caveats or limitations on [defendant’s] use”); LimeCoral, Ltd. v. CareerBuilder,
LLC, 889 F.3d 847, 851 (7th Cir. 2018) (“Absent a limitation imposed on the license at the time
these works were delivered to CareerBuilder, the license impliedly granted to CareerBuilder
would encompass all of the rights of LimeCoral as the copyright holder.”); Effects Assocs., Inc.
v. Cohen, 908 F.2d 555, 558–59 (9th Cir. 1990); Photographic Illustrators, Corp. v. Orgill, Inc.,
953 F.3d 56, 61 (1st Cir. 2020); Foad Consulting Grp., Inc. v. Azzalino, 270 F.3d 821, 825–26
(9th Cir. 2001) (“We agree that the contract grants GenCom an implied license to use the revised
plot plan to complete development of the project, to hire another firm to create derivative works
using the revised plot plan for the purpose of completing the project, and to publish the resulting
work.”); Westhoff Vetriebsges mbH v. Berg, No. 22 Civ. 938, 2023 WL 5811843, at *8–*13
(S.D. Cal. Sept. 6, 2023), Reinicke v. Creative Empire, LLC, 38 F. Supp. 3d 1192, 1200 (S.D.
Cal. 2014); Wilchombe v. TeeVee Toons, Inc., 555 F.3d 949, 957 (11th Cir. 2009); Solid Oak
Sketches, LLC v. 2K Games, Inc., 449 F. Supp. 3d 333, 345–46 (S.D.N.Y. 2020); Kennedy v.
Gish, Sherwood & Friends, Inc., 143 F. Supp. 3d 898, 908–09 (E.D. Mo. 2015).




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               [TAKE-TWO’S PROPOSED] Jury Instruction No. 17: Waiver

        To establish Take-Two’s waiver defense, it must prove by a preponderance of the
evidence that Plaintiff voluntarily and intentionally relinquished his known right. In answering
this question, you may consider whether Plaintiff delayed in enforcing his copyrights such that
Take-Two could reasonably assume its use of the Asserted Tattoos was permitted.



Authority: Stratton v. Portfolio Recovery Assoc., LLC, 770 F.3d 443, 447–448 (6th Cir. 2014);
Soos & Assocs., Inc. v. Five Guys Enters., LLC, 425 F. Supp. 3d 1004, 1012 (N.D. Ill. 2019);
Design Basics LLC v. Campbellsport Bldg. Supply, Inc., No. 13 Civ. 560, 2016 WL 3189202, at
*9 (E.D. Wis. June 7, 2016).




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      [TAKE-TWO’S PROPOSED] Jury Instruction No. 18: De Minimis Use Defense

        De minimis use of a work is not copyright infringement. Use of the Asserted Tattoos is
de minimis if an average lay observer would not observe them in NBA 2K. To make that
determination, you may consider the length of time that the Asserted Tattoos appear in NBA 2K,
their prominence in the games, and whether they are primarily in the background or often
obstructed from view. The lighting, positioning, focus, and camera angles used also are relevant
to the prominence of the Asserted Tattoos in NBA 2K. You may find de minimis use even if you
find that the entire Asserted Tattoos were copied.



Authority: Dkt. 193 (1st Summ J. Op.) at 10 (“Courts consider ‘the amount of the copyrighted
work that was copied, as well as the observability of the copyrighted work in the allegedly
infringing work.’. . . [C]ourts measure observability through factors like ‘focus,’ ‘lighting,’
‘camera angles’ and the ‘prominence’ of the copied image within the infringing work.”); VMG
Salsoul, LLC v. Ciccone, 824 F.3d 871, 878 (9th Cir. 2016); Gordon v. Nextel Commc’ns &
Mullen Advert., Inc., 345 F.3d 922, 924–25 (6th Cir. 2003); Sandoval v. New Line Cinema Corp.,
147 F.3d 215, 217 (2d Cir. 1998); G.R. Leonard & Co. v. Stack, 386 F.2d 38, 40 (7th Cir. 1967);
Solid Oak Sketches, LLC v. 2K Games, Inc., 449 F. Supp. 3d 333, 343–45 (S.D.N.Y. 2020);
Gottlieb Dev. LLC v. Paramount Pictures, Corp., 590 F. Supp. 2d 625, 632 (S.D.N.Y. 2008);
MiTek Holdings, Inc. v. Arce Eng’g Co., Inc., 89 F.3d 1548, 1560 (11th Cir. 1996).




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      [TAKE-TWO’S PROPOSED] Jury Instruction No. 19: The Defense of Fair Use

        One who is not the owner of the copyright may use the copyrighted work in a reasonable
way under the circumstances without the consent of the copyright owner if it would advance the
public interest. Such use of a copyrighted work is called a fair use. The owner of a copyright
cannot prevent others from making a fair use of the owner’s copyrighted work.

       To assist me in deciding whether Take-Two engaged in fair use, I will be asking you to
decide certain factual questions relevant to this defense.

Authority: 17 U.S.C. § 107; Ninth Cir. Model Jury Instruction No. 17.22 (modified), available
at https://www.ce9.uscourts.gov/jury-instructions/node/280; Google LLC v. Oracle Am., Inc.,
141 S. Ct. 1183, 1198 (2021) (fair use provides “a context-based check that can help to keep a
copyright monopoly within its lawful bounds”); Campbell v. Acuff-Rose Music, Inc., 510 U.S.
569, 583–84 (1994) (fair use applied even where copying would otherwise “be an infringement”
of the plaintiff’s copyrights); Lexmark Int’l, Inc. v. Static Control Components Inc., 387 F.3d
522, 537 (6th Cir. 2004) (“Congress has established a fair use defense to infringement claims to
ensure that copyright protection advances rather than thwarts the essential purpose of
copyright.”).




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    [TAKE-TWO’S PROPOSED] Jury Instruction No. 20: Fair Use - Purpose and Character

        First, you will be asked to answer questions relevant to the purpose and character of
Take-Two’s use of the Asserted Tattoos in NBA 2K. In particular, you will be asked to make
findings of fact relevant to whether and to what extent Take-Two’s use of the Asserted Tattoos in
NBA 2K is “transformative.” A use is transformative when it adds something new, with a
further purpose or different character, altering the original with new expression, meaning, or
message. A secondary use can be transformative in purpose or character even without altering or
actually adding to the original work if it complements rather than substitutes for the original
work. I already have found that Take-Two’s purpose of creating realism and accuracy is
distinguishable from Plaintiff’s aims of creating body art on Mr. James’ body at Mr. James’
request as a form of Mr. James’ personal expression and to represent people and things that are
meaningful and significant in his life.

       You also will be asked to make findings of fact about how the Asserted Tattoos appear in
NBA 2K. You will therefore be asked whether Take-Two reduced the size of the Asserted
Tattoos in NBA 2K. In answering this question, you may consider whether the Asserted Tattoos
are prominently displayed or smaller than their real-life size. You also will be asked about
whether, in NBA 2K, the Asserted Tattoos are used more for Take-Two’s purpose of creating
realism and accuracy than for their expressive value. In answering this question, you may
consider whether the Asserted Tattoos were put into a context or combined with other material,
such as auditory or visual elements, that lessens their value as expressive works. You will also be
asked whether the Asserted Tattoos are a small part of NBA 2K. In answering this question, you
may consider what proportion of NBA 2K’s file size or gameplay consists of the Asserted
Tattoos.1

       Commerciality of the use is also relevant to the purpose and character of the use, and the
focus of commerciality is whether the user of a work stands to profit from the use. You will be
asked to decide whether the ordinary purchaser buys NBA 2K for the Asserted Tattoos. In
answering that question, you may consider whether the Asserted Tattoos were used to advertise
or promote NBA 2K.2


1
       This proposed instruction relates to Questions 7, 8, and 9 in Take-Two’s Proposed
Verdict Form, and it comes from Bill Graham Archives v. Dorling Kindersley Ltd., 448 F.3d
605, 611 (2d Cir. 2006) (considering whether: (1) the defendant “significantly reduced in size the
reproductions” such that the reproductions were “inadequate to offer more than a glimpse of their
expressive value;” (2) the defendant “minimized the expressive value of the reproduced images
by combining them” with other material; and (3) the copied images “constitute an
inconsequential portion” of the defendant’s overall work).
2
        This proposed instruction relates to Question 10 of Take-Two’s Proposed Verdict Form,
and it comes from the Supreme Court’s decision in Harper & Row Publishers, Inc. v. Nation
Enters., 471 U.S. 539 (1985) (“The crux of the profit/nonprofit distinction is not whether the sole
motive of the use is monetary gain but whether the user stands to profit from exploitation of the
copyrighted material without paying the customary price.”); see also Bill Graham Archives v.
Dorling Kindersley Ltd., 448 F.3d 605, 611 (2d Cir. 2006) (finding defendant did not “exploit the

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Authority: 17 U.S.C. § 107; Andy Warhol Found. for the Visual Arts, Inc. v. Goldsmith, 598 U.S.
508, 531, 534 (2023) (“[A] use that has a distinct purpose is justified because it furthers the goal
of copyright, namely, to promote the progress of science and the arts, without diminishing the
incentive to create.”); Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569, 583–84 (1994); Am.
Society for Testing & Materials v. Public.Resource.Org, Inc., 82 F.4th 1262, 1268 (D.C. Cir.
2023); Bouchat v. Balt. Ravens Ltd. P’ship, 737 F.3d 932, 940 (4th Cir. 2013); SOFA Ent., Inc. v.
Dodger Prods., Inc., 709 F.3d 1273, 1278 (9th Cir. 2013); Bill Graham Archives v. Dorling
Kindersley Ltd., 448 F.3d 605, 609–612 (2d Cir. 2006); Lexmark Int’l, Inc. v. Static Control
Components Inc., 387 F.3d 522, 544 (6th Cir. 2004); Solid Oak Sketches, LLC v. 2K Games, Inc.,
449 F. Supp. 3d 333, 346–350 (S.D.N.Y. 2020); Castle v. Kingsport Publ’g Corp., No. 19 Civ.
92, 2020 WL 7348157, at *5 (E.D. Tenn. Dec. 14, 2020); Monster Commc’ns, Inc. v. Turner
Broad. Sys, Inc., 935 F. Supp. 490, 494 (S.D.N.Y. 1996); Kelly v. Arriba Soft Corp. 336 F.3d
811, 818 (9th Cir. 2003); Durham Indus., Inc. v. Tomy Corp., 630 F.2d 905, 910 (2d Cir. 1980);
Tresóna Multimedia, LLC v. Burbank High Sch. Vocal Music Ass’n, 953 F.3d 638, 651 (9th Cir.
2020); Authors Guild, Inc. v. HathiTrust, 755 F.3d 87, 99 (2d Cir. 2014); Final Charge to the
Jury, Oracle Am., Inc. v. Google Inc., No. 10 Civ. 3561 (modified); Dkt. 193 (1st Summ. J. Op.)
at 12.




use of BGA’s images as such for commercial gain” because defendant “has not used any of
BGA’s images in its commercial advertising or in any other way to promote the sale of”
defendant’s book); Lexmark Int’l, Inc. v. Static Control Components Inc., 387 F.3d 522, 544 (6th
Cir. 2004) (finding “it is not the case that any profit-making purpose weighs against fair use”);
Andy Warhol Found. for the Visual Arts, Inc. v. Goldsmith, 598 U.S. 508, 533 (2023) (fair use
“requires an analysis of the specific ‘use’ of a copyrighted work that is alleged to be ‘an
infringement’” (quoting 17 U.S.C. § 107)).


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     [TAKE-TWO’S PROPOSED] Jury Instruction No. 21: Fair Use - Nature of the Work

       Second, you will be asked to answer questions relevant to the nature of the Asserted
Tattoos. You will be asked to decide whether the Asserted Tattoos contain standard images or
themes. Standard images and themes are images and themes that are common or widely used in
the medium at issue, which here is tattoos.3

       You will also be asked whether the Asserted Tattoos are part of Mr. James’ appearance.
In answering this question, you may consider whether Mr. James would look like himself
without the Asserted Tattoos, and whether other people could realistically and accurately depict
him without his tattoos.4


Authority: Lexmark Int’l, Inc. v. Static Control Components Inc., 387 F.3d 522, 544 (6th Cir.
2004); see also Google LLC v. Oracle Am., Inc., 141 S. Ct. 1183, 1202 (2021); Campbell v.
Acuff-Rose Music, Inc., 510 U.S. 569, 586 (1994); Harper & Row Publishers, Inc. v. Nation
Enters., 471 U.S. 539, 563 (1985); Tresóna Multimedia, LLC v. Burbank High Sch. Vocal Music
Ass’n, 953 F.3d 638, 651 (9th Cir. 2020); Authors Guild, Inc. v. HathiTrust, 755 F.3d 87, 99 (2d
Cir. 2014); Bouchat v. Balt. Ravens Ltd. P’ship, 737 F.3d 932, 942–43 (4th Cir. 2013); SOFA
Ent., Inc. v. Dodger Prods., Inc., 709 F.3d 1273, 1278–79 (9th Cir. 2013); Bill Graham Archives
v. Dorling Kindersley Ltd., 448 F.3d 605, 609–613 (2d Cir. 2006); Balsley v. LFP, Inc., 691 F.3d
747, 759 (6th Cir. 2012); Kelly v. Arriba Soft Corp. 336 F.3d 811, 818 (9th Cir. 2003); Durham
Indus., Inc. v. Tomy Corp., 630 F.2d 905, 910 (2d Cir. 1980); Wilson v. Ancestry.com LLC, 653
F. Supp. 3d 441, 454 (S.D. Ohio 2023); Solid Oak Sketches, LLC v. 2K Games, Inc., 449 F.
Supp. 3d 333, 346–350 (S.D.N.Y. 2020); Castle v. Kingsport Publ’g Corp., No. 19 Civ. 92, 2020
WL 7348157, at *5 (E.D. Tenn. Dec. 14, 2020); Monster Commc’ns, Inc. v. Turner Broad. Sys,
Inc., 935 F. Supp. 490, 494 (S.D.N.Y. 1996).



3
        This proposed instruction relates to Question 11 of Take-Two’s Proposed Verdict Form.
Under the doctrine of scènes à faire, elements that are “standard, stock, or that necessarily follow
from a common theme or setting” are not protectable, which is why Take-Two proposes the
inclusion of Question 9. See Lexmark Int’l, Inc. v. Static Control Components, Inc., 387 F.3d
522, 535 (6th Cir. 2004) (alterations omitted).
4
        This proposed instruction relates to Question 12 of Take-Two’s Proposed Verdict Form.
Under right of publicity laws, of which Ohio Rev. Code § 2741.01–02 is representative, “a
person shall not use any aspect of an individual’s persona for a commercial purpose” unless
“[t]he person first obtains written consent[.]” See Wilson v. Ancestry.com LLC, 653 F. Supp. 3d
441, 454 (S.D. Ohio 2023). The protected “persona” includes a person’s “distinctive
appearance.” If the Asserted Tattoos became part of Mr. James’ appearance, then Plaintiff’s
alleged rights would overlap with Mr. James’, and his assertion of rights would restrict Mr.
James’ exercise of his own rights. The overlap of Plaintiff’s alleged rights and Mr. James’ rights
makes the nature of tattoos unique among copyrighted works. See Google LLC v. Oracle Am.,
Inc., 141 S. Ct. 1183, 1202 (2021) (considering the relevance of third parties when assessing
second factor).

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   [TAKE-TWO’S PROPOSED] Jury Instruction No. 22: Fair Use - The Amount and
Substantiality of the Portion of Plaintiff’s Work Used in Relation to the Copyrighted Work

        Third, you will be asked questions relevant to the amount and substantiality of the
portion of Plaintiff’s work used in relation to the copyrighted work as a whole. I have found that
the Asserted Tattoos in NBA 2K are a small part of a larger graphic display and appear much
smaller than in real life. You will be asked whether NBA 2K includes a reasonable amount of the
Asserted Tattoos in light of Take-Two’s purpose of showing Mr. James as he looks in real life.5
In addition, you will be asked whether the Asserted Tattoos are a prominent feature of ordinary
NBA 2K gameplay. 6 In answering this question, you may consider how observable the Asserted
Tattoos are in ordinary NBA 2K gameplay, including whether they appear primarily in the
background, obstructed from view, in focus, or surrounded by other auditory or visual elements.



Authority: Dkt. 193 (1st Summ. J. Op.) at 14; see also Campbell v. Acuff-Rose Music, Inc., 510
U.S. 569, 583–84 (1994); Harper & Row Publishers, Inc. v. Nation Enters., 471 U.S. 539, 563
(1985); Tresóna Multimedia, LLC v. Burbank High Sch. Vocal Music Ass’n, 953 F.3d 638, 651
(9th Cir. 2020); Authors Guild, Inc. v. HathiTrust, 755 F.3d 87, 99 (2d Cir. 2014); Bouchat v.
Balt. Ravens Ltd. P’ship, 737 F.3d 932, 940 (4th Cir. 2013); SOFA Ent., Inc. v. Dodger Prods.,
Inc., 709 F.3d 1273, 1278 (9th Cir. 2013); Balsley v. LFP, Inc., 691 F.3d 747, 759 (6th Cir.
2012); Bill Graham Archives v. Dorling Kindersley Ltd., 448 F.3d 605, 609–612 (2d Cir. 2006);
Lexmark Int’l, Inc. v. Static Control Components Inc., 387 F.3d 522, 544 (6th Cir. 2004); Kelly v.
Arriba Soft Corp. 336 F.3d 811, 818 (9th Cir. 2003); Durham Indus., Inc. v. Tomy Corp., 630
F.2d 905, 910 (2d Cir. 1980); Castle v. Kingsport Publ’g Corp., No. 19 Civ. 92, 2020 WL
7348157, at *5 (E.D. Tenn. Dec. 14, 2020); Solid Oak Sketches, LLC v. 2K Games, Inc., 449 F.
Supp. 3d 333, 346–350 (S.D.N.Y. 2020); Monster Commc’ns, Inc. v. Turner Broad. Sys, Inc.,
935 F. Supp. 490, 494 (S.D.N.Y. 1996).




5
        This proposed instruction relates to Question 13 of Take-Two’s Proposed Verdict Form,
and it comes from Design Basics, LLC v. Petros Homes, Inc. 240 F. Supp. 3d 712, 722 (N.D.
Ohio 2017) (“The question is whether the quantity and value of the materials used
are reasonable in relation to the purpose of the copying.”).
6
        This proposed instruction relates to Question 14 of Take-Two’s Proposed Verdict Form,
and it comes from the Court’s first opinion on summary judgment, which found that on factor
three, “the degree of observability” of the Asserted Tattoos is up to the jury to decide. Dkt. 193
(1st Summ. J. Op.) at 10, 14; see TCA Television Corp. v. McCollum, 839 F.3d 168, 185 (2d Cir.
2016) (quoting Campbell v. Acuff-Rose, Inc., 510 U.S. 569, 587 (1994)) (finding that not only is
the “quantity of the materials used” relevant but also their “quality and importance”).


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    [TAKE-TWO’S PROPOSED] Jury Instruction No. 23: Fair Use - The Effect of the Use
               Upon the Market for or Value of the Copyrighted Work

        Fourth, you will be asked questions relevant to the effect of Take-Two’s use of the
Asserted Tattoos on the market for or value of the Asserted Tattoos. You will be asked whether
customers would purchase NBA 2K as a substitute for purchasing the Asserted Tattoos. By
“substitute,” I mean whether someone might choose to acquire tattoos from Take-Two’s video
games, rather than obtain tattoos from Plaintiff.7

         Plaintiff bears the burden of showing that there is a current or potential market for the use
of the Asserted Tattoos as they appear in NBA 2K. I have already found that there is no current
market for including tattoos in video games, so you will be asked to determine whether a
potential market exists. When I say, “potential market,” I do not mean just any conceivable
market, I mean a market that is traditional, reasonable, or likely to develop. Plaintiff cannot
prevent others from entering a conceivable market merely by developing or licensing that use
himself. Thus, you will be asked to determine whether Plaintiff has met his burden of showing
that, at the time that Take-Two started using the Asserted Tattoos, there was a reasonable,
traditional, or likely to developed market for licensing the Asserted Tattoos Plaintiff inked for
use in video games separate from the market for depicting Mr. James.

        And if you determine there is a potential market, you will be asked whether Take-Two’s
use of the Asserted Tattoos in NBA 2K substantially harms that market. In making your
determination, you should consider whether NBA 2K competes with the Asserted Tattoos or
derivatives of the Asserted Tattoos. You also should consider whether Take-Two’s use deprives
Plaintiff of significant revenues because potential purchasers may opt to purchase NBA 2K
instead of the Asserted Tattoos. You also should consider whether widespread conduct like
Take-Two’s would result in a substantially adverse impact on the potential market for the
Asserted Tattoos. To show harm to a potential market, Plaintiff cannot simply point to lost
revenue he would have earned from Take-Two’s compensating him for the use of the Asserted
Tattoos.8


7
        This proposed instruction is relevant to Question 15 of Take-Two’s Proposed Verdict
Form, and it comes from this Court’s first opinion on summary judgment. Dkt. 193 (1st Summ.
J. Op.) at 14–15 (citing Authors Guild v. Google, Inc., 804 F.3d 202, 222 (2d Cir. 2015)
(“Whether the copy brings to the marketplace a competing substitute for the original, or its
derivative, so as to deprive the rights holder of significant revenues because of the likelihood that
potential purchasers may opt to acquire the copy in preference to the original.”)).
8
        This proposed instruction is relevant to Questions 16, 17, and 18 of Take-Two’s
Proposed Verdict Form, and it comes from Bill Graham Archives v. Dorling Kindersley Ltd. 448
F.3d 605, 614–15 (2d Cir. 2006) (finding “we look at the impact on potential licensing revenues
for traditional, reasonable, or likely to be developed markets” and “[C]opyright owners may not
preempt exploitation of transformative markets”); see also Harper & Row Publishers, Inc. v.
Nation Enters., 471 U.S. 539, 562 (1985) (considering “exploitation of the copyrighted material
without paying the customary price”) (emphasis added); Authors Guild v. Google, Inc., 804 F.3d
202, 222 (2d Cir. 2015) (“Whether the copy brings to the marketplace a competing substitute for

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       You also will be asked questions relevant to the public’s interest in this case. You will be
asked to decide whether allowing people with tattoos to permit others to show them realistically
and accurately with their tattoos would encourage or discourage people to get tattoos., as well as
whether allowing people with tattoos to be depicted realistically and accurately encourages or
discourages creativity.9




the original, or its derivative, so as to deprive the rights holder of significant revenues because of
the likelihood that potential purchasers may opt to acquire the copy in preference to the
original.”); Castle Rock v. Carol Pub. Grp., Inc., 150 F.3d 132, 145 n.11 (2d Cir. 1998) (“Just as
secondary users may not exploit markets that original copyright owners would ‘in general
develop or license others to develop’ even if those owners had not actually done so, copyright
owners may not preempt exploitation of transformative markets, which they would not ‘in
general develop or license others to develop,’ by actually developing or licensing others to
develop those markets. Thus, by developing or licensing a market for parody, news reporting,
educational or other transformative uses of its own creative work, a copyright owner plainly
cannot prevent others from entering those fair use markets.”).
9
        This proposed instruction is relevant to Questions 19 and 20, and it comes from Google
LLC v. Oracle America, Inc., which instructs that factor four “must take into account the public
benefits the copying will likely produce,” balancing any “dollar amounts likely lost” with the
benefits from the “creative production of new expression.” 141 S. Ct. 1183, 1206 (2021).


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              [TAKE-TWO’S PROPOSED] Jury Instruction No. 24: Damages

        If you find for Plaintiff on his copyright infringement claim and that Take-Two failed to
prove any of its affirmative defenses, then you must consider the amount of damages, if any, that
Plaintiff is entitled to recover. Plaintiff may recover any actual damages suffered from the
infringement and any profits of Take-Two that are attributable to the infringement, to the extent
such profits are not taken into account in computing actual damages. I will define these terms in
the following instructions.



Authority: 17 U.S.C. § 504.




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[TAKE-TWO’S CONDITIONAL PROPOSAL]10 Jury Instruction No. 25: Actual Damages

        To receive actual damages, Plaintiff must prove by a preponderance of the evidence that
he suffered actual losses as a result of Take-Two’s use of the Asserted Tattoos in NBA 2K.
Examples of actual losses from copyright infringement include:

     -   What a willing buyer reasonably would have paid Plaintiff to obtain a license to use the
         Asserted Tattoos in NBA 2K; or

     -   The decrease in market value of the Asserted Tattoos caused by their use in NBA 2K.

        If the relationship between the actual losses suffered and the use of the Asserted Tattoos
is unduly speculative, Plaintiff is not entitled to actual damages. If Plaintiff fails to show by non-
speculative evidence that licensing the Asserted Tattoos had a fair market value, Plaintiff is not
entitled to actual damages.

        If you find that Plaintiff did not take reasonable actions to reduce his damages and that
Plaintiff reasonably might have mitigated his damages had he taken such actions, you should
reduce the damages by the amount he could have mitigated.


Authority: 17 U.S.C. § 504(b) (“The copyright owner is entitled to recover the actual damages
suffered by him or her as a result of the infringement, and any profits of the infringer that are
attributable to the infringement and are not taken into account in computing the actual damages.
In establishing the infringer’s profits, the copyright owner is required to present proof only of the
infringer’s gross revenue, and the infringer is required to prove his or her deductible expenses
and the elements of profit attributable to factors other than the copyrighted work.”); McRoberts
Software, Inc. v. Media 100, Inc., 329 F.3d 557, 569 (7th Cir. 2003) (“Actual damages are
usually determined by the loss in the fair market value of the copyright, measured by the profits
lost due to the infringement or by the value of the use of the copyrighted work to the infringer.”);
Polar Bear Prods., Inc. v. Timex Corp., 384 F.3d 700, 708 (9th Cir. 2004) (“In our review of
Timex’s challenge to the actual damages award, we must assess whether the award is non-
speculative—that is, whether it is sufficiently supported by evidence.”); Dash v. Mayweather,
731 F.3d 303, 317 (4th Cir. 2013) (“The first possible measure is the amount of revenue that the
copyright holder lost as a result of infringement, such as his own lost sales of the work. Another
cognizable measure is the fair market value of the licensing fee the owner was entitled to charge
for [the infringer’s] use of his copyrighted work.” (internal citations and quotations omitted;
brackets in original)).




10
  As discussed in Take-Two’s motion in limine No. 7, Plaintiff is not entitled to seek actual
damages at trial. If Take-Two’s MIL is denied, it proposes this jury instruction and related
Questions 21 and 22 in Take-Two’s Proposed Verdict Form.


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         [TAKE-TWO’S PROPOSED] Jury Instruction No. 26: Take-Two’s Profits

       To recover any of Take-Two’s profits, Plaintiff must prove by a preponderance of the
evidence that Take-Two’s use of the Asserted Tattoos in NBA 2K caused Take-Two’s profits.
Therefore, if you find that the relationship between Take-Two’s profits and its use of the
Asserted Tattoos in NBA 2K is attenuated or speculative, Plaintiff is not entitled to any of Take-
Two’s profits. Plaintiff also is not entitled to profits if he can show only that Mr. James caused
some of Take-Two’s profits, without showing that those profits were related to the Asserted
Tattoos.

        If Plaintiff proves the existence of revenues that are reasonably related to the Asserted
Tattoos, then Take-Two must prove its expenses, which you should deduct from Take-Two’s
revenues to determine its profits, and Take-Two must prove any portion of its profits that
resulted from factors other than infringement of Plaintiff’s copyright. Take-Two has the burden
of proving the percentage of the profit, if any, attributable to factors other than infringing the
copyrighted works. Where it is clear that not all profits are attributable to the infringing material,
Plaintiff is not entitled to recover all of the Take-Two’s profits merely because Take-Two fails to
establish with certainty the portion attributable to non-infringing elements.

        Moreover, you may consider any delay by Plaintiff in commencing this suit. In so doing,
you may consider whether Take-Two relied on any delay by Plaintiff in bringing suit, taking into
account when Plaintiff learned of the claims and whether any delay in bringing suit was
unjustified or undue. To the extent you find that Plaintiff unduly delayed in bringing his claims,
you may reduce profits in an amount commensurate with the delay.



Authority: 17 U.S.C. § 504(b) (“The copyright owner is entitled to recover the actual damages
suffered by him or her as a result of the infringement, and any profits of the infringer that are
attributable to the infringement and are not taken into account in computing the actual
damages.”); Satija v. Permanent Gen. Assurance Corp. of Ohio, No. 13 Civ. 82, 2014 WL
1664557, at *6 (N.D. Ohio Apr. 25, 2014) (requiring a “reasonable relationship between
revenues and the act of infringement”); Petrella v. Metro-Goldwyn-Mayer, Inc., 572 U.S. 663,
685–88 (2014) (“[T]he District Court, in determining appropriate injunctive relief and assessing
profits, may take account of Petrella’s delay in commencing suit.”); Cream Records, Inc. v. Jos.
Schlitz Brewing Co., 754 F.2d 826, 829–30 (9th Cir. 1985); Bouchat v. Balt. Ravens Football
Club, Inc., 346 F.3d 514, 520 (4th Cir. 2003) (“‘Because Mackie [had] failed to adduce any non-
speculative evidence that would even suggest a link between the infringement and the
Symphony's supposedly enhanced revenues,’ summary judgment in favor of the Symphony was
appropriate.”); Ocean Atl. Woodland Corp. v. DRH Cambridge Homes, Inc., 262 F. Supp. 2d
923, 927 (N.D. Ill. 2003); Skidmore v. Led Zeppelin, No. 15 Civ. 3462, 2016 WL 1442461 (C.D.
Cal. Apr. 8, 2016) (finding “undue delay in bringing suit may justify adjusting profits”).




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                    [AGREED] Jury Instruction No. 27: Duty to Deliberate

        It is now your duty to deliberate and to consult with one another in an effort to reach a
verdict. Each of you must decide the case for yourself, but only after an impartial consideration
of the evidence with your fellow jurors. During your deliberations, do not hesitate to reexamine
your own opinions and change your mind if you are convinced that you were wrong. But do not
give up on your honest beliefs because the other jurors think differently, or just to finish the case.

        Remember at all times that you are the judges of the facts. You have been allowed to take
notes during this trial. Any notes that you took during this trial are only aids to memory. If your
memory differs from your notes, then you should rely on your memory and not on the notes. The
notes are not evidence. If you did not take notes, then rely on your independent recollection of
the evidence and do not be unduly influenced by the notes of other jurors. Notes are not entitled
to greater weight than the recollection or impression of each juror about the testimony.

       When you go into the jury room to deliberate, you may take with you a copy of this
charge, the exhibits that I have admitted into evidence, and your notes. You must select a jury
foreperson to guide you in your deliberations and to speak for you here in the courtroom.

         Your verdict must be unanimous. After you have reached a unanimous verdict, your jury
foreperson must fill out the answers to the written questions on the verdict form and sign and
date it. After you have concluded your service and I have discharged the jury, you are not
required to talk with anyone about the case.

       If you need to communicate with me during your deliberations, then the jury foreperson
should write the inquiry and give it to the court security officer. After consulting with the
attorneys, I will respond either in writing or by meeting with you in the courtroom. Keep in
mind, however, that you must never disclose to anyone, not even to me, your numerical division
on any question.

       You may now proceed to the jury room to begin your deliberations.



Authority: Kevin F. O’Malley et al., Fed. Jury Prac. & Instructions Civil Companion Handbook
§ 6:1 (2023–2024 ed.).




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